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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


Estate of Yael Botvin, et al.           :
                                        :
                 Plaintiffs,            :
      v.                                :            Civil Action No. 1:21-cv-03186 (RCL)
                                        :
Heideman Nudelman & Kalik, P.C., et al. :
                                        :
                 Defendants.            :

                          DEFENDANTS’ MOTION TO DISMISS

        COME NOW Defendants The Heideman Law Group, P.C. d/b/a Heideman Nudelman &

Kalik, P.C., incorrectly sued separately as “Heideman, Nudelman & Kalik, P.C., and The

Heideman Law Group, P.C.,” Richard Heideman, Noel Nudelman, and Tracy Reichman Kalik,

by and through counsel, WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP, and

respectfully move this Honorable Court to dismiss Plaintiffs’ claims against them for failure to

state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). In the alternative, Defendants

move for dismissal for failure to join required parties under Federal Rule of Civil Procedure

12(b)(7). As grounds therefore, Defendants respectfully refer the Court to the attached

Memorandum of Points and Authorities, adopted and incorporated herein by reference.




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                                            Respectfully submitted,

                                            WILSON, ELSER, MOSKOWITZ,
                                            EDELMAN & DICKER LLP

                                            /s/ Jason R. Waters
                                            Jason R. Waters (#491066)
                                            Callyson T. Grove (#1015612)
                                            1500 K Street, N.W., Suite 330
                                            Washington, D.C. 20005
                                            (202) 626-7660
                                            (202) 628-3606 facsimile
                                            Jason.Waters@wilsonelser.com
                                            Callyson.Grove@wilsonelser.com
                                            Counsel for Defendants The Heideman Law Group,
                                            P.C. d/b/a Heideman Nudelman & Kalik, P.C.;
                                            Richard Heideman; Noel Nudelman; and Tracy
                                            Reichman Kalik




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 11, 2022, I electronically filed and served

Defendants’ Motion to Dismiss and accompanying Memorandum, Appendix, Exhibits, and

proposed Order using the Court’s CM/ECF system on counsel of record for all parties in this

action.

                      Robert J. Tolchin
                      The Berkman Law Office, LLC
                      111 Livingston Street, Suite 1928
                      Brooklyn, NY 11201
                      Counsel for Plaintiffs




                                            /s/ Jason R. Waters
                                            Jason R. Waters, Esquire



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